Case 2:14-md-02592-EEF-MBN Document 5113-10 Filed 01/20/17 Page 1 of 12




                        Exhibit 2
        FILED UNDER SEAL
Case 2:14-md-02592-EEF-MBN Document 5113-10 Filed 01/20/17 Page 2 of 12
       PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW

   1                   UNITED STATES DISTRICT COURT
   2                   EASTERN DISTRICT OF LOUISIANA
   3
   4     IN RE:     XARELTO                ) MDL 2592
         (rivaroxaban) PRODUCTS            )
   5     LIABILITY LITIGATION              ) Section:      L
                                           )
   6                                       ) JUDGE ELDON E. FALLON
         THIS DOCUMENT RELATES             )
   7     TO ALL CASES                      ) MAG. JUDGE NORTH
   8
   9
  10
  11
  12
  13
  14        Videotaped deposition of WAYNE LOUIS BACKES,
  15    PH.D., taken on Thursday, November 17, 2016, in
  16    the office of The Lambert Firm, A.P.L.C., 701
  17    Magazine Street, New Orleans, Louisiana 70130,
  18    commencing at 9:07 a.m.
  19
  20
  21
  22
  23

        Reported by:
  24    AURORA M. PERRIEN
        CERTIFIED COURT REPORTER
  25    REGISTERED PROFESSIONAL REPORTER

 Golkow Technologies, Inc.                                            Page 1
Case 2:14-md-02592-EEF-MBN Document 5113-10 Filed 01/20/17 Page 3 of 12
       PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW

   1                   A P P E A R A N C E S
   2    REPRESENTING PLAINTIFFS:
   3           SCHLICHTER, BOGARD & DENTON, L.L.P.
               BY: ROGER DENTON, ESQ.
   4           100 South 4th Street, Suite 1200
               St. Louis, Missouri 63102
   5           314.621.6115
               Rdenton@uselaws.com
   6
                 THE LAMBERT FIRM, A.P.L.C.
   7             BY: EMILY C. JEFFCOTT, ESQ.
                 701 Magazine Street
   8             New Orleans, Louisiana 70130
                 504.561.1750
   9             Ejeffcott@thelambertfirm.com
  10             THOMAS, MITCHELL, RAFFERTY, PROCTOR, P.A.
                 BY: NED McWILLIAMS, ESQ.
  11             316 South Baylen Street, Suite 60
                 Pensacola, Florida 32502
  12             850.435.7000
                 Nmcwilliams@levinlaw.com
  13
  14
  15
        REPRESENTING BAYER HEALTHCARE PHARMACEUTICALS,
  16    INC. AND BAYER PHARMA AG:
  17           KAY SCHOLER, L.L.P.
               BY: BERT L. SLONIM, ESQ.
  18           250 West 55th Street
               New York, New York 10019-9710
  19           212.836.8897
               Bert.slonim@kayescholer.com
  20
                 KAY SCHOLER, L.L.P.
  21             BY: PAMELA J. YATES, ESQ.
                 1999 Avenue of the Stars, Suite 1600
  22             Los Angeles, California 90067-6048
                 310.788.1278
  23             Pamela.yates@kayescholer.com
  24
  25

 Golkow Technologies, Inc.                                            Page 3
Case 2:14-md-02592-EEF-MBN Document 5113-10 Filed 01/20/17 Page 4 of 12
       PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW

   1    REPRESENTING JANSSEN PHARMACEUTICALS, INC.,
        JANSSEN RESEARCH & DEVELOPMENT, L.L.C., JANSSEN
   2    ORTHO, L.L.C., and JOHNSON AND JOHNSON:
   3           BARRASSO, USDIN, KUPPERMAN, FREEMAN
               & SARVER, L.L.C.
   4           BY: RICHARD E. SARVER, ESQ.
               909 Poydras Street, Suite 2400
   5           New Orleans, Louisiana 70112
               504.589.9700
   6           Rsarver@barrassousdin.com
   7           BARRASSO, USDIN, KUPPERMAN, FREEMAN
               & SARVER, L.L.C.
   8           BY: ANDREA M. PRICE, ESQ.
               909 Poydras Street, Suite 2400
   9           New Orleans, Louisiana 70112
               504.589.9700
  10           Aprice@barrassousdin.com
  11
  12
  13
        ALSO PRESENT:
  14
                 MELISSA BARDWELL, VIDEOGRAPHER
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25

 Golkow Technologies, Inc.                                            Page 4
Case 2:14-md-02592-EEF-MBN Document 5113-10 Filed 01/20/17 Page 5 of 12
       PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW

   1    application for a pharmaceutical company?
   2         A.    No.
   3         Q.    Have you conducted any scientific studies
   4    of Xarelto?
   5         A.    No.
   6         Q.    Have you published any scientific articles
   7    about Xarelto?
   8         A.    No.
   9         Q.    Have you given any scientific talks or
  10    presentations about Xarelto?
  11         A.    No.
  12         Q.    And if I could expand that, have you
  13    conducted any scientific studies about any
  14    anticoagulant medication?
  15         A.    No.
  16         Q.    Have you published any scientific articles
  17    about any anticoagulant medication?
  18         A.    No.
  19         Q.    And have you given any scientific talks or
  20    presentations about any anticoagulant medication?
  21         A.    No.   I haven't.
  22         Q.    Apart from your work in this case,
  23    Dr. Backes, have you ever written or presented
  24    information or opinions about Xarelto?
  25         A.    Aside from this?

 Golkow Technologies, Inc.                                           Page 26
Case 2:14-md-02592-EEF-MBN Document 5113-10 Filed 01/20/17 Page 6 of 12
       PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW

   1               concentration.       Then -- so now, if you're
   2               treating it once a day, then you're going
   3               to cause -- there's going to be a 30-fold
   4               or so increase in that drug concentration.
   5    BY MR. SLONIM:
   6         Q.    So can you give us a number?            What number,
   7    what magnitude between minimum and maximum
   8    concentration for Xarelto would be acceptable, in
   9    your opinion?
  10               MR. DENTON:
  11                    Object to the form of the question.
  12               THE WITNESS:
  13                    It's -- I do not have the data to be
  14               able to come up with a number.            But there
  15               -- but it's clear that if you dose the
  16               drug more frequently, it would decrease
  17               the minimum and maximum concentrations, in
  18               which case then you're more likely to be
  19               in the therapeutic window.           And that's
  20               just basic principles of pharmacology.
  21    BY MR. SLONIM:
  22         Q.    Let's -- let's talk about the calculation
  23    that supports your opinion that there's a 32-fold
  24    difference between the maximum and minimum
  25    concentration over a day.           Let's make sure we

 Golkow Technologies, Inc.                                           Page 77
Case 2:14-md-02592-EEF-MBN Document 5113-10 Filed 01/20/17 Page 7 of 12
       PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW

   1               make this to be a safer drug.
   2    BY MR. SLONIM:
   3         Q.    You don't have clinical outcome evidence
   4    that twice daily dosing would improve safety or --
   5    or efficacy, do you?
   6               MR. DENTON:
   7                    Object to the form.
   8               THE WITNESS:
   9                    I haven't done any clinical -- any of
  10               the clinical studies myself.
  11                    But the -- based -- based on the
  12               simulations that I showed, the fact that
  13               the -- that the -- that the fluctuations
  14               would be lower, that would -- it increases
  15               the likelihood that the drug concentration
  16               will remain in the therapeutic range with
  17               -- with twice-a-day dosing.           Though --
  18               though, you know, it's my under -- it's
  19               also my understanding from this one paper
  20               that I read that compliance -- that there
  21               are concerns about compliance with twice
  22               daily dosing.
  23                    So I mean, I understand -- I -- I
  24               understand a lot of the positives and
  25               negatives of this.        And, you know, I think

 Golkow Technologies, Inc.                                          Page 204
Case 2:14-md-02592-EEF-MBN Document 5113-10 Filed 01/20/17 Page 8 of 12
       PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW

   1               that it's -- I think it would just be --
   2               it would be better if -- if you could
   3               monitor the drug concentrations, first
   4               off.    You're -- you're better off, and
   5               especially if you could establish what is
   6               -- what is a safe concentration.             But, you
   7               know, as far as I can see, that -- that
   8               isn't -- hasn't even been established by
   9               Bayer.
  10                    And I -- I don't mean just Bayer, but,
  11               you know, all the companies that were
  12               involved in the development of this drug.
  13               So I'm not trying to pick on anybody in
  14               particular.
  15                    And I forgot the rest of what I was
  16               going to say.       So I'll just shut up, and
  17               you can ask me the next question.
  18    BY MR. SLONIM:
  19         Q.    You don't have any clinical outcome data
  20    to support the contention that a time-release
  21    dosing regimen would improve safety or efficacy --
  22         A.    Oh, no.     That was --
  23         Q.    -- correct?
  24         A.    I -- I put that in as a suggestion.
  25    Because it -- if there was a time-release

 Golkow Technologies, Inc.                                          Page 205
Case 2:14-md-02592-EEF-MBN Document 5113-10 Filed 01/20/17 Page 9 of 12
       PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW

   1    formulation of it, then you would not have the
   2    high peaks, and -- and then the troughs would also
   3    not be as -- be as low.          So it'd decrease your
   4    fluctuations.       It'd keep you in the therapeutic
   5    range to a greater extent.
   6         Q.    You don't intend to offer an opinion that
   7    Xarelto is defective because it was not formulated
   8    in a time-release or twice daily dosing?
   9         A.    No.
  10               I think it -- but I think it could be
  11    improved if -- if -- if that was possible.                 And I
  12    don't even know whether that would be possible.                   I
  13    would think that maybe it could be.              But that
  14    would be -- you know, I -- I mean, I looked at a
  15    lot -- I looked at a lot of this data.               And I
  16    said, There are things that could be -- in my
  17    opinion, there are things that could be done to
  18    improve this drug and to decrease the risks.
  19         Q.    In order to determine whether or not twice
  20    daily dosing or a time-release formulation would
  21    improve safety and/or efficacy, you would have to
  22    conduct large studies in patients and perform the
  23    statistical analyses and see the comparison;
  24    correct?
  25         A.    Yes.

 Golkow Technologies, Inc.                                           Page 206
Case 2:14-md-02592-EEF-MBN Document 5113-10 Filed 01/20/17 Page 10 of 12
        PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW

   1          Q.   And you don't have those data; correct?
   2          A.   No.    I'm not going to do those
   3    experiments.
   4          Q.   And --
   5          A.   So, I mean -- but it's something that
   6    -- it's something that could be done.               And the
   7    drug companies that have -- have a vested interest
   8    in this, they -- they could -- they could do it if
   9    they felt like it was -- it would be to their --
  10    to their and their patients' benefit.
  11               MR. SLONIM:
  12                     Why don't we take a short break.
  13               MR. DENTON:
  14                     Lunchtime?
  15               MR. SLONIM:
  16                     Maybe a -- maybe a lunch break.            Okay.
  17               THE WITNESS:
  18                     Okay.
  19               THE VIDEOGRAPHER:
  20                     The time is 12:37 p.m.         We are off the
  21               record.
  22               (Ms. Yates exits the deposition.)
  23               (Recess was taken.)
  24               THE VIDEOGRAPHER:
  25                     This begins Disk 4 of today's

 Golkow Technologies, Inc.                                          Page 207
Case 2:14-md-02592-EEF-MBN Document 5113-10 Filed 01/20/17 Page 11 of 12
        PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW

   1                        C E R T I F I C A T E
   2        This certification is valid only for
   3    a transcript accompanied by my original signature
   4    and original seal on this page.
   5        I, AURORA M. PERRIEN, Registered Professional
   6    Reporter, Certified Court Reporter, in and for the
   7    State of Louisiana, as the officer before whom
   8    this testimony was taken, do hereby certify that
   9    WAYNE LOUIS BACKES, PH.D., after having been duly
  10    sworn by me upon the authority of R.S. 37:2554,
  11    did testify as hereinbefore set forth in the
  12    foregoing 288 pages; that this testimony was
  13    reported by me in the stenotype reporting method,
  14    was prepared and transcribed by me or under my
  15    personal direction and supervision, and is a true
  16    and correct transcript to the best of my ability
  17    and understanding; that the transcript has been
  18    prepared in compliance with transcript format
  19    guidelines required by statute or by rules of the
  20    board; and that I am informed about the complete
  21    arrangement, financial or otherwise, with the
  22    person or entity making arrangements for
  23    deposition services; that I have acted in
  24    compliance with the prohibition on contractual
  25    relationships, as defined by Louisiana Code of

 Golkow Technologies, Inc.                                          Page 289
Case 2:14-md-02592-EEF-MBN Document 5113-10 Filed 01/20/17 Page 12 of 12
        PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW

   1    Civil Procedure Article 1434 and in rules and
   2    advisory opinions of the board; that I have no
   3    actual knowledge of any prohibited employment or
   4    contractual relationship, direct or indirect,
   5    between a court reporting firm and any party
   6    litigant in this matter nor is there any such
   7    relationship between myself and a party litigant
   8    in this matter.        I am not related to counsel or to
   9    the parties herein, nor am I otherwise interested
  10    in the outcome of this matter.
  11

  12

  13

  14

  15                       AURORA M. PERRIEN, CCR, RPR
  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

 Golkow Technologies, Inc.                                          Page 290
